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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


GEORGIA STATE CONFERENCE OF *
THE NAACP, et al.,                          *
                                            *
     Plaintiffs,                            *
                                            *
     v.                                     *    1:24-CV-04546-ELR
                                            *
BRIAN KEMP, Governor of the State of *
Georgia, in his official capacity, et al., *
                                            *
     Defendants,                            *
                                            *
REPUBLICAN NATIONAL                         *
COMMITTEE, et al.,                          *
                                            *
     Intervenor Defendants.                 *
                                            *
                                       _________

                                     ORDER
                                     _________

      On October 10, 2024, the Court held a hearing on Plaintiffs’ construed Motion

for Preliminary Injunction. [Doc. 2].

      A district court may grant a preliminary injunction if the movant shows: (1) it

has a substantial likelihood of success on the merits; (2) it will suffer irreparable

injury unless the injunction issues; (3) the threatened injury to the movant outweighs

any damage the proposed injunction may cause the opposing party; and (4) if issued,

the injunction would not be adverse to the public interest. Siegel v. LePore, 234
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F.3d 1163, 1176 (11th Cir. 2000) (en banc). Although a “preliminary injunction is

an extraordinary and drastic remedy,” it should be granted if “the movant ‘clearly

carries the burden of persuasion’ as to the four prerequisites.” United States v.

Jefferson Cnty., 720 F.2d 1511, 1519 (11th Cir. 1983) (quoting Canal Auth. v.

Callaway, 489 F.2d 567, 573 (5th Cir. 1974)).

      For the reasons set out on the record at the October 10, 2024 hearing, the Court

finds that Plaintiffs failed to establish that they are entitled to preliminary injunctive

relief. Specifically, the Court finds that Plaintiffs did not establish a substantial

likelihood of success as to the issue of Article III standing—which is “an

indispensable part of plaintiff[s’] case.” See Lujan v. Defs. of Wildlife, 504 U.S.

555, 561 (1992). Additionally, for the reasons discussed at the hearing, even if

Plaintiffs had established a likelihood of success as to standing, the Court finds that

Plaintiffs did not clearly carry their burden of persuasion as to their likelihood of

success on the merits of their claims. Accordingly, the Court DENIES Plaintiffs’

construed Motion for Preliminary Injunction. [Doc. 2].

      SO ORDERED, this 10th day of October, 2024.



                                                ______________________
                                                Eleanor L. Ross
                                                United States District Judge
                                                Northern District of Georgia




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